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                                  IN THE UNITED STATES DISTRICT
                                FOR THE NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

JOHN KOE,                                     :       CASE NO. 1:22-cv-1455-DAP
                                              :
                    Plaintiff                 :       JUDGE DANIEL A. POLSTER
                                              :
         v.                                   :
                                              :
UNIVERSITY HOSPITALS HEALTH                   :
SYSTEM, INC., et al.                          :
                                              :
                    Defendants.               :

                        DEFENDANTS’ MOTION FOR A PROTECTIVE
                   ORDER SEEKING AN ORDER THAT REQUIRES PLAINTIFF
                   TO COMMUNICATE ONLY WITH DEFENDANTS’ COUNSEL
                      OF RECORD WITH RESPECT TO THIS LITIGATION

         Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, Defendants University

Hospitals Health Systems, Inc. (“UHHS”) and University Hospitals Cleveland Medical Center

(“UHCMC”) (UHHS and UHCMC are collectively, “Defendants”) by and through undersigned

counsel, respectively move this Court for a protective order (1) prohibiting Plaintiff John Koe

(“Plaintiff”) from communicating directly with Defendants’ officers, Defendants’ employees,

and Defendants’ affiliates; and (2) ordering Plaintiff to direct all communications concerning this

lawsuit to Defendants’ counsel of record in this matter.

         Courts within this Circuit and other Federal Circuits issue protective orders pursuant to

Rule 26(c) addressing inappropriate communications with pro se plaintiffs directly to defendants.

See Yao v. Oakland Univ., No. 2:21-cv-10523, 2022 U.S. Dist. LEXIS 11428 (E.D. Mich. Jan.

20, 2022). The Yao court issued an order identical to the order sought by Defendant because the

Yao court found that “it is best practice for pro se plaintiffs to communicate directly with

opposing counsel rather than with defendants.” Id. at *3. The court found that such a practice



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“promotes efficiency, avoids potential annoyance, confusion, undue burden, or harassment

toward defendants, and prevents inappropriate communications between the parties.” Id.

         Since Defendants filed their motion to dismiss in this matter, Plaintiff has refused to

communicate directly with Defendants’ counsel of record. Rather, Plaintiff has sent over twenty

emails that copied Defendants’ Chief Legal Officer. In addition to these emails to Defendants’

Chief Legal Officer, Plaintiff has communicated directly with multiple UHCMC employees,

without copying counsel, on matters directly relating to this lawsuit. Finally, prior to filing this

lawsuit, Plaintiff filed multiple charges against Defendants in state and federal agencies and his

constant communications with Defendants’ employees resulted in a cease and desist letter issued

by Defendants’ counsel in late 2021.

         This Motion is based on the Declaration of Counsel and the attached Memorandum in

Support. Defendants’ counsel sought to resolve this issue prior to filing this Motion, but Plaintiff

refused to only communicate with Defendants’ counsel of record.

                                                     Respectfully submitted,

                                                     /s/ David A. Campbell
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                                MEMORANDUM IN SUPPORT

I.       INTRODUCTION

         This Court has not yet ruled that Pro Se Plaintiff John Koe (“Plaintiff”) may proceed

anonymously, but this Motion will not disclose Plaintiff’s identity. However, before filing this

lawsuit anonymously, Plaintiff has filed numerous charges with state and federal agencies

against Defendants University Hospitals Health Systems, Inc. (“UHHS”) and University

Hospitals Cleveland Medical Center (“UHCMC”) (UHHS and UHCMC are collectively,

“Defendants”). The charges are not anonymous.

         Relevant to this motion, Plaintiff aggressively pursued the charges by contacting

Defendants’ employees via text, phone, and other means. Multiple employees complained of the

harassment resulting from Plaintiff’s contacts to Defendants and a cease and desist letter was

issued to Plaintiff in late 2021. Since Defendants filed their motion to dismiss in this lawsuit,

Plaintiff has continued to directly contact Defendants’ employees, without copying Defendants’

counsel, to address lawsuit issues. Finally, when Plaintiff has communicated with Defendants’

counsel of record on this lawsuit, he has always copied Defendants’ Chief Legal Officer on the

communication.

         Courts within this Circuit and other Federal Circuits issue protective orders pursuant to

Rule 26(c) addressing inappropriate communications with pro se plaintiffs directly to defendants.

See Yao v. Oakland Univ., No. 2:21-cv-10523, 2022 U.S. Dist. LEXIS 11428 (E.D. Mich. Jan.

20, 2022). Relevant to this Motion, the Yao court issued an order identical to the order sought by

Defendant because the Yao court found that “it is best practice for pro se plaintiffs to

communicate directly with opposing counsel rather than with defendants.” Id. at *3. The court

found that such a practice “promotes efficiency, avoids potential annoyance, confusion, undue



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burden, or harassment toward defendants, and prevents inappropriate communications between

the parties.” Id.

         Accordingly, based on this Court’s authority to issue a protective order pursuant to Rule

26(c) to protect Defendants from “annoyance, embarrassment, oppression, or undue burden or

expense,” this Court should issue an order (1) prohibiting Plaintiff John Koe (“Plaintiff”) from

communicating directly with Defendants’ officers, Defendants’ employees, and Defendants’

affiliates; and (2) ordering Plaintiff to direct all communications concerning this lawsuit to

Defendants’ counsel of record in this matter. Fed. R. Civ. P. 26(c); see also Yao v. Oakland

Univ., No. 2:21-cv-10523, 2022 U.S. Dist. LEXIS 11428, *3 (E.D. Mich. Jan. 20, 2022).

II.      RELEVANT FACTS

         A.        Relevant Procedural Background.

         This lawsuit arises out of Plaintiff’s termination from a residency program on April 23,

2021. (ECF #1, pgs. 6 and 10-11). Plaintiff alleges that his termination from the residency

program was due to either his sex or disability status. (ECF #1, pg. 4). Plaintiff has filed the

complaint anonymously under the pseudonym John Koe. (ECF #1, pg. 1). Plaintiff has filed a

motion to proceed in forma pauperis (ECF #2), but he has not filed a motion to proceed

anonymously.

         Defendants have filed a motion to dismiss the Complaint. (ECF #3). On the day the

motion to dismiss was filed, Plaintiff immediately reached out to Defendants’ counsel and

disclosed his true identity. (Declaration of David Campbell at ¶ 8 (hereinafter “Dec. Campbell at

__”) (attached as Exhibit 1). Thereafter, Plaintiff has communicated directly with Defendants’

employees utilizing an email address that identifies Plaintiff by his real name. (Dec. Campbell at

¶ 9).



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         B.        The Number And Substance Of Plaintiff’s Direct Communications To
                   Defendant.

         Since the filing of Defendants’ motion to dismiss, Plaintiff has followed three forms of

communications with Defendants regarding this lawsuit: (1) Eighteen emails under Plaintiff’s

normal email address that were sent to both of Defendants’ counsel of record that are copied to

Defendants’ Chief Legal Officer; (2) four emails sent to only one of Defendants’ counsel of

record with a copy to Defendants’ Chief Legal Officer; (3) two emails to Defendants’ counsel of

record copying Defendants’ Chief Legal Officer via the anonymous email listed on the

Complaint; and (4) an unknown number of emails, phone calls and texts directly to Defendants’

employees without a copy to Defendants’ counsel of record. (Dec. Campbell at ¶ 10).

         The emails sent by Plaintiff are inappropriate. (Dec. Campbell at ¶ 16). Examples of

some of the emails are attached as Exhibit C to the Declaration. For example, Plaintiff sent a

snide email directly to one of Defendants’ employees attacking the employee’s grammar usage,

suggesting an article on “professional development”, and making a comment that the alleged

grammatical issue was the result of sleep deprivation: “I recall you were very sleep deprived and

stressed at the time…” (Dec. Campbell at ¶ 17 and Exhibit C).

         Another email from Plaintiff directly to one of Defendants’ employees was sent to

intimidate the employee regarding individual liability under Ohio law, encourage the employee

to distance himself from Defendants’ legal representation, and suggested that the employee

obtain individual counsel:

                   “Please be aware that the hospital legal team or their outside
                   counsel does not represent you barring explicit approval from the
                   Board of Directors…as it appears some people are under the
                   impression that Ohio law did away with individual liability in
                   employment law and the OCRC is not updated online, you should
                   read HB 352 from last session noting very carefully the remarks
                   about Genaro…Highly suggest reviewing with your own attorney.”

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(Dec. Campbell at ¶ 18 and Exhibit C).

         Plaintiff’s emails also directly attack Defendants’ counsel, David Campbell, accusing him

of fraud, discrimination, and other false conduct. (Dec. Campbell at ¶ 19). For example, Plaintiff

stated the following about Mr. Campbell in an email sent directly to UHHS’ Chief Legal Officer:

                   “note my sympathy to the issue regarding a subjective statement
                   that could bind UH by an individual [David Campbell] who has
                   exhibited discriminatory animus; also note my explicitly
                   identification of the fraudulently altered documents), I am, unlike
                   Mr. Campbell, not bound strictly by the Rules of Professional
                   Conduct (e.g. Rule 4.2).”

(Dec. Campbell at ¶ 19 and Exhibit C).

         Plaintiff’s comments are clearly meant to drive a wedge between Mr. Campbell and

Defendants in an effort to have Defendants replace Mr. Campbell as counsel in this matter:

                   “The fact that Mr. Campbell is personally implicated presents a
                   substantial conflict of interest or at the very least the appearance of
                   a conflict of interest. While it is not my place to second guess
                   UH’s business judgment in terms of its desired legal
                   representation, I maintain that Mr. Campbell’s continued
                   involvement is at the very least prejudicial [to] UH’s interests and
                   efficient resolution in this matter. Please identify an alternative
                   contact for UH given the need to contact UH directly.”

(Dec. Campbell at ¶ 20 and Exhibit C).

         Indeed, Plaintiff has gone so far as to threaten UHHS’ Chief Legal Officer, legal team,

and UHCMC staff that Mr. Campbell’s involvement in this lawsuit is grounds for additional

discrimination and retaliation claims:

                   “Would it really serve to effect the purpose of the laws that
                   protected civil rights if Employers or Covered Entities were free to
                   act with impunity by hire a dirtbag attorney to retaliate on their
                   behalf.”

(Dec. Campbell at ¶ 21).




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         Plaintiff’s conduct is inappropriate, insulting, malicious, and, at times, has suggested

that Mr. Campbell’s continued involvement in this matter will result in further inappropriate

conduct from Plaintiff: “So come on and chickity-check yo’ self before you wreck yo’ self.”

(emphasis in original); “Play stupid games, win stupid prizes appears to be apropos.” (Dec.

Campbell at ¶ 22).

         Prior to filing this Motion, Defendants’ counsel emailed Plaintiff and asked him to only

communicate with Defendants’ counsel of record regarding the lawsuit. (Dec. Campbell at ¶

11). Plaintiff refused the request and threatened to file disciplinary charges against Defendants’

counsel of record. (Dec. Campbell at ¶ 11). Copies of the communications are attached to the

Declaration. (Dec. Campbell at Ex. A).

         C.        Plaintiff’s Conduct Prior To The Filing Of This Lawsuit.

         Although proceeding anonymously in this lawsuit, Plaintiff filed numerous charges with

state and federal agencies under his true identity prior to filing this lawsuit. (Dec. Campbell at ¶

13). Plaintiff aggressively pursued the charges, contacting Defendants’ employees to discuss his

claims, to discuss the employees’ testimony, and to seek admissions in favor of Plaintiff. (Dec.

Campbell at ¶ 14). In fact, whenever an exhibit was filed with an agency by Defendants that

demonstrated Plaintiff’s misconduct, Plaintiff would obtain a copy of the exhibit and then

immediately contact the employee identified in the exhibit. (Dec. Campbell at ¶ 14).

         Many of Defendants’ employees reported feeling harassed by Plaintiff’s contacts. (Dec.

Campbell at ¶ 15). As a result of the employee complaints, on December 2, 2021, Defendants’

counsel sent a cease and desist letter to Plaintiff. (Dec. Campbell at ¶ 15). Relevant to this

motion, the letter stated:

                   The purpose of this letter is to formally demand that you cease and
                   desist your communications and contact with UH employees. All

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                   employers have a duty under federal and state occupational safety
                   and health statutes, as well as under the common law, to provide a
                   safe workplace. Employers also have a common law duty to
                   exercise reasonable care to avoid the risk of injury to third parties.
                   This letter lays out the many attempts that UH has taken to permit
                   you to obtain information from UH, but to protect UH employees
                   from your harassment. However, those attempts have failed and
                   this letter serves as formal notice that if you don’t comply with the
                   terms of this letter that UH will have no choice but to initiate court
                   proceedings to enjoin you from further contact with UH or its
                   employees.

(Dec. Campbell at Ex. A).

         The cease and desist letter did not stop Plaintiff’s direct communications to Defendants’

employees. (Dec. Campbell at ¶ 23). To the contrary, Plaintiff filed multiple charges arising out

of the letter and increased his contacts with Defendants’ employees. (Dec. Campbell at ¶ 23). In

fact, Plaintiff has taken direct actions to attempt to damage Defendants’ residency program since

the cease and desist letter was issued. (Dec. Campbell at ¶ 24). On one occasion, days before

medical students ranked residency programs for matching, Plaintiff posted a false and

disparaging statement on social media anonymously that included Plaintiff’s charges that clearly

identified him. (Dec. Campbell at ¶ 24). The posting was clearly intended to negatively impact

the residency program’s ranking by medical students. (Dec. Campbell at ¶ 24).

         Most recently, the residency program participated in a Midwest Zoom recruiting

conference where residents were supposed to move from Zoom room to room after spending

thirty minutes with selected residency program. (Dec. Campbell at ¶ 25). Incredibly, Plaintiff

attended the conference under his true identity and proceeded to remain in Defendants’ zoom

room for the entire program. (Dec. Campbell at ¶ 25). Plaintiff’s attendance in the same zoom

room for the length of the program was clearly meant to intimidate and frustrate the presenter.

(Dec. Campbell at ¶ 25).



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III.     LAW AND ARGUMENT

         A.        Standard Of Review.

         Rule 26(c)(1) of the Federal Rules of Civil Procedure permits a court to “issue an order to

protect a party or person from annoyance, embarrassment, oppression, or undue burden or

expense.” Fed. R. Civ. P. 26(c); see also Yao v. Oakland Univ., No. 2:21-cv-10523, 2022 U.S.

Dist. LEXIS 11428, *3 (E.D. Mich. Jan. 20, 2022). A court will find good cause for the order

upon the moving party demonstrating the facts underlying the need for the order. See Smolko v.

Mapei Corp., No. 6:21-cv-25, 2022 U.S. Dist. LEXIS 44090, *8 (E.D. Ky. Feb. 10, 2022).

         Courts within the Sixth Circuit and other Federal Circuits have issued protective orders

pursuant to Rule 26(c)(1) to prohibit pro se plaintiffs from communicating directly with

defendants or other parties to a lawsuit. See, e.g., Yao v. Oakland Univ., No. 2:21-cv-10523,

2022 U.S. Dist. LEXIS 11428, *3 (E.D. Mich. Jan. 20, 2022); see also Smolko v. Mapei Corp.,

No. 6:21-cv-25, 2022 U.S. Dist. LEXIS 44090, *8 (E.D. Ky. Feb. 10, 2022); Simkus v. United

Airlines, No. 13-cv-04388, 2015 U.S. Dist. LEXIS 26398, *2-3 (N.D. Ill. Mar. 4, 2015).

         As set forth below, Defendants’ Motion should be granted because Plaintiff’s direct

communications with Defendants’ officers and employees warrant a protective order pursuant to

Rule 26(c)(1) of the Federal Rules of Civil Procedure.

         B.        Good Cause Exists To Issue A Protective Order Precluding Plaintiff From
                   Directly Communicating With Defendants’ Officers And Employees.

         A protective order pursuant to Rule 26(c)(1) of the Federal Rules of Civil Procedure is

appropriate due to Plaintiff’s continuous inappropriate, direct communications with Defendants’

officers and employees. Most relevant to this Motion, the district court in Yao v. Oakland Univ.,

No. 2:21-cv-10523, 2022 U.S. Dist. LEXIS 11428 (E.D. Mich. Jan. 20, 2022), recently enacted

such a protective order because the Yao court found that “it is best practice for pro se plaintiffs to

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communicate directly with opposing counsel rather than with defendants.” Id. at *3. The court

found that such a practice “promotes efficiency, avoids potential annoyance, confusion, undue

burden, or harassment toward defendants, and prevents inappropriate communications between

the parties.” Id.

         In this matter, Plaintiff is a physician and he most certainly can effectively prosecute this

lawsuit through communications with counsel.           However, as demonstrated in the attached

declaration, Plaintiff has partaken in a prolonged attack on Defendants’ and Defendants’

employees. The conduct resulted in a cease and desist letter being issued to Plaintiff, but he

refused to abide by the request. Rather, from the date of his discharge form the residency

program through today, Plaintiff has continuously communicated directly with Defendants’

employees via email, text and phone.

         Once this lawsuit was filed, Plaintiff moved to copying Defendants’ Chief Legal Officer

on all communications that were sent to Defendants’ counsel of record. However, when he

desires, Plaintiff continues to communicate directly with Defendants’ employees on facts

relevant to this lawsuit. As set forth in the attached Declaration, Plaintiff is no longer in

Defendants’ residency program, but Plaintiff has continued his contacts with Defendants’

employees

         As set forth previously herein, Federal Courts – including the courts within the Sixth

Circuit – issue protective orders pursuant to Rule 26(c)(1) of the Federal Rules of Civil

Procedure to prohibit pro se plaintiffs from communicating directly with parties to a lawsuit.

Consistent with the decision in Yao v. Oakland Univ., No. 2:21-cv-10523, 2022 U.S. Dist.

LEXIS 11428, *3 (E.D. Mich. Jan. 20, 2022), the United States District Court for the Eastern

District of Kentucky issued a similar order in Smolko v. Mapei Corp., No. 6:21-cv-25, 2022 U.S.



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Dist. LEXIS 44090, *8 (E.D. Ky. Feb. 10, 2022). There, the Eastern District of Kentucky

ordered a pro se plaintiff from communicating directly with the defendant’s employees and from

serving discovery requests directly to the defendant’s employees. Id. at *8.

         Similarly, the court in Simkus v. United Airlines, No. 13-cv-04388, 2015 U.S. Dist.

LEXIS 26398, *2-3 (N.D. Ill. Mar. 4, 2015), issued a protective order pursuant to Rule 26(c)(1),

holding that “ a former employee suing his former employer pro se should not communicate with

that party about the litigation other than through counsel.” Id. at *2.

         Although issuing the aforementioned protective orders under Rule 26(c)(1), the courts in

Yao, Smolko, and Simko each firmly held that pro se plaintiffs must abide by Rule 4.2 of the

district’s respective rules of professional conduct, which preclude attorneys from communicating

directly with parties represented by counsel. Indeed, the courts within the Sixth Circuit hold

that:

                    “[a]lthough a plaintiff, as a non-attorney, is not technically bound
                   by the Rules of Professional Conduct, in her capacity as a pro se
                   plaintiff she is nevertheless required from directly contacting the
                   named defendants in accordance with Rule 4.2.”

Gaines-Hanna v. Farmington Pub. Sch. Dist., No. 04-CV-74910, 2006 U.S. Dist. LEXIS 14885,

*6-7 (E.D. Mich. Mar. 31, 2006).

         Plaintiff’s direct communications with Defendants’ officers and employees clearly

violate Rule 4.2 of the Ohio Rules of Professional Conduct and warrant the issuance of a

protective order.

         Finally, the United States District Court for the Middle District of Tennessee addressed

facts strikingly similar to this matter. See Silva v. Aspen, No. 3:21-cv-689, 2022 U.S. Dist.

LEXIS 68300 (M.D. Tenn. Apr. 13, 2022). In Silva, the court addressed the many lawsuits filed

by pro se Plaintiff Silva against various individuals in various forums arising out of claims


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related to Taylor Swift. Id. In so doing, the court discussed the protective order issued to Silva in

a related federal court litigation, which ordered plaintiff

                   “not to communicate with defendant or affiliated companies,
                   agents, or related individuals and, if such communication was
                   necessary, contact shall only be made in writing through
                   defendant’s counsel, and any communications shall not contain
                   any inappropriate statements, threats of any kind, or insults…”

Id. at n. 4.

         Plaintiff’s tactics are similar to the tactics in Silva. Plaintiff has filed numerous state and

federal charges and he has pursued these charges relentlessly. While proceeding anonymously in

this lawsuit, Plaintiff has communicated directly with Defendants’ employees under his true

identity. Finally, it is evidently clear that Plaintiff’s desire is to damage Defendants; not to

remedy any alleged wrongs. Plaintiff’s conduct is intentional and designed to increase litigation

costs and to cause maximum disruption within the hospital. Accordingly, Defendants have made

a clear showing of good cause that a protective order is necessary to direct Plaintiff to refrain

from communication with Defendants’ officers and employees.               Thus, Defendants’ Motion

should be granted.




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IV.      CONCLUSION

         Based on the above-cited arguments and authorities, Defendants’ Motion for a Protective

Order should be granted. Accordingly, this Court should issue a protective order (1) prohibiting

Plaintiff John Koe from communicating directly with Defendants’ officers, Defendants’

employees, and Defendants’ affiliates; and (2) ordering Plaintiff to direct all communications

concerning this lawsuit to Defendants’ counsel of record in this matter.

                                                     Respectfully submitted,

                                                     /s/ David A. Campbell
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                               CERTIFICATE OF GOOD FAITH

         Pursuant to Rule 26(c)(1) of the Federal Rules of Civil Procedure, Defendants certify that

they have attempted to confer with Plaintiff regarding the issues raised in this Motion in an effort

to resolve the dispute without Court involvement.



                                                      /s/ David A. Campbell
                                                      David A. Campbell (0066494)

                                                      One of the Attorneys for Defendant




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                                CERTIFICATE OF SERVICE

         I hereby certify on this 10th day of October, 2022, the foregoing was filed through the

Court’s CM/ECF electronic filing system and will be served upon Pro Se Plaintiff John Koe via

email at john@johnkoe.org and via regular U.S. mail to John Koe, P.O. Box 527, Novelty, OH

44072.



                                                    /s/ David A. Campbell
                                                    David A. Campbell (0066494)

                                                    One of the Attorneys for Defendant




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